                                        Case 12-73375-lrc              Doc 75       Filed 05/05/23 Entered 05/05/23 12:31:42                           Desc
                                                                                         Page 1 of 3
                                                                                    FORM 1                                                                                                   Page: 1
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                 ASSET CASES
Case Number:   12-73375 LRC                                                                                     Trustee:                        John Lewis Jr.
Case Name:     Daniel Leon Watkins                                                                              Filed (f) or Converted (c):     09/19/12 (f)
               Donna Kay Watkins                                                                                 D 0HHWLQJ'DWH           08/17/20
Period Ending: 03/31/23                                                                                         Claims Bar Date:                09/09/21

                                        1                                       2                              3                          4                      5                       6
                                                                                                      Estimated Net Value                                                           Asset Fully
                                                                             Petition/           (Value Determined By Trustee,         Property            Sale/Funds            Administered (FA)/
                                Asset Description                          Unscheduled              Less Liens, Exemptions,          Abandoned             Received by            Gross Value of
 Ref #               (Scheduled And Unscheduled (u) Property)                 Values                    and Other Costs)          2$  D $EDQGRQ        the Estate           Remaining Assets

  1      280 Vista Wood Drive Marietta GA 30066                                  190,292.00                                0.00          OA                               0.00          FA

  2      Dodge Caravan 2000                                                          3,525.00                              0.00          OA                               0.00          FA
         (see footnote)
  3      Ford F-350 2001                                                             6,075.00                              0.00          OA                               0.00          FA
         (see footnote)
  4      Bed4 DressersSofa2 TVs2 Stereos2 DVD PlayersDining room                      650.00                               0.00          OA                               0.00          FA
         table w/4 chairs2 ComputersLocation: 280 Vista Wood Drive,
         Marietta GA 30066
  5      200 Books75 CDs100 DVDs100 Die CastsLocation: 280 Vista                      475.00                               0.00          OA                               0.00          FA
         Wood Drive, Marietta GA 30066
  6      2 Cameras3 Sewing Machines2 PistolsLocation: 280 Vista                       500.00                               0.00          OA                               0.00          FA
         Wood Drive, Marietta GA 30066
  7      Husband:12 Pairs of Jeans30 Shirts5 Pairs of Shoes Wife:10                   150.00                               0.00          OA                               0.00          FA
         Pairs of Pants30 Shirts10 Pairs of ShoesLocation: 280 Vista
         Wood Drive, Marietta GA 30066
  8      25 Pieces of Assorted Costume Jewelry                                           50.00                             0.00          OA                               0.00          FA

  9      DogLocation: 280 Vista Wood Drive, Marietta GA 30066                             0.00                             0.00          OA                               0.00          FA

  10     Cash on hand In PocketLocation: 280 Vista Wood Drive,                           50.00                             0.00          OA                               0.00          FA
         Marietta GA 30066
  11     Suntrust Bank Checking Acct: 8166 Balance as of: 07/24/2012                 1,387.09                              0.00          OA                               0.00          FA

  12     Suntrust Bank Checking Acct: 1442 Balance as of: 07/23/2012                  605.52                               0.00          OA                               0.00          FA

  13     10 Shares of ING StockLocation: 280 Vista Wood Drive,                           85.25                             0.00          OA                               0.00          FA
         Marietta GA 30066
  14     Possible settlement in American Medical System Inc. class                  Unknown                           Unknown                                             0.00                   1.00
         action lawsuit (u)
TOTALS (Excluding Unknown Values)                                               $203,844.86                               $0.00                                          $0.00                  $1.00
Regarding Property #2 No Loan
Location: 280 Vista Wood Drive, Marietta GA 30066
Regarding Property #3 No Loan
Location: 280 Vista Wood Drive, Marietta GA 30066

Major activities affecting case closing:
                                         Case 12-73375-lrc                Doc 75          Filed 05/05/23 Entered 05/05/23 12:31:42                                Desc
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                                                                                     FORM 1                                                                                                                Page: 2
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                  ASSET CASES
<4/22/2023, 7:14:12 PM - ShanekaR-630>
Trustee is reviewing case for possible tranfer.
<10/31/2022, 5:19:13 PM - ShanekaR-630>
There is a multidistrict litigation settlement. 3 PI firms are being paid out of the settlement. We are still waiting on signed declarations from 2 so that we can file an application to employ all 3 firms. We are
communicating with Connie Vega at Archer Systems who is supposed to be getting us the signed declarations.
<4/10/2022, 4:03:32 PM - ShanekaR-630>
Employed William Rountree as Attorney for the Estate. Rountree is collecting info from settlement company regarding attorneys to be paid out of the settlement. William will prepare 9019 Motion.

<09/30/2021, 4:05:32 PM - ShanekaR-630>
Claims Administrator Archer has the funds. A Motion to Approve settlement will be filed within early next week.




Initial Projected Date of Final Report (TFR): December 31, 2021                                            Current Projected Date of Final Report (TFR): June 30, 2023

                 May 05, 2023                                                                                                 /s/ John Lewis Jr.
                    Date                                                                                                      John Lewis Jr.
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                                                                        Form 2                                                                                             Page: 1

                                                      Cash Receipts and Disbursements Record
Case Number:          12-73375 LRC                                                            Trustee:                John Lewis Jr.
Case Name:            Daniel Leon Watkins                                                     Bank Name:              Flagstar Bank, N.A.
                      Donna Kay Watkins                                                       Account:                ******5661 - Checking
Taxpayer ID#:         ******6630                                                              Blanket Bond:           $29,875,000.00 (per case limit)
Period:               10/01/22 - 03/31/23                                                     Separate Bond:          N/A

   1            2                     3                                      4                                                 5                    6                  7

 Trans.    Check or                                                                                       Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From              Description of Transaction              Tran. Code            $                    $           Account Balance

                                                                            ACCOUNT TOTALS                                             0.00              0.00               $0.00
                                                                               Less: Bank Transfers                                    0.00              0.00

                                                                            Subtotal                                                   0.00              0.00
                                                                               Less: Payment to Debtors                                                  0.00

                                                                            NET Receipts / Disbursements                           $0.00                $0.00
